                        IN THE UNITED STATES COURT FOR THE
                            WESTERN DISTRICT OF MISSOURI
                                 WESTERN DIVISION

UNITED STATES OF AMERICA,                          §
    Plaintiff,                                     §
                                                   §
        VS.                                        §            NO. 18-00293-CR-W-DGK
                                                   §
LEEANNA SCHROEDER                                  §
    Defendant.                                     §
                                                   §


         DEFENDANT’S MOTION TO MODIFY CONDITIONS OF RELEASE


Comes now Defendant Leeanna Schroeder, by and through her counsel Cynthia M. Dodge, and

hereby requests this Court enter an order modifying the current bond conditions by releasing Ms.

Schroeder from a third-party custodian and allowing her to seek separate housing. In support

thereof, Defendant states as follows:

1. The Order Setting Conditions of Release [Doc. 444] was entered on February 16, 2021.

2. Defendant was released on a personal recognizance bond with a third-party custodian,

Defendant’s father.

3. Defendant is currently being supervised by the U.S. Pretrial Services Office in St. Louis, Missouri.

4. Defendant is fully compliant with the conditions of release, has maintained full-time employment,

attended regular counseling, has reported as instructed, and is not in violation.

5. Defendant now seeks a modification of this Court’s order, specifically Condition

Numbers 8 and 9(b), to allow the release of said third party custodian and for Defendant to seek

housing closer to her employment in the St. Louis area.



Motion to Modify Bond Conditions
USA v. Leeanna Schroeder 18-00293
         Case 4:18-cr-00293-DGK Document 527 Filed 11/17/21 Page 1 of 2
6. Defendant would like to live closer to her place of employment, maintain independence and

become more self-sufficient.

7. Defendant is working full-time and can afford a place on her own, subject to prior approval by

her local probation officer.

8. Defendant and counsel have consulted with Probation Officer, Amanda Polt, who has no

objection allowing Ms. Schroeder to seek different housing so long as pretrial services examines and

approves prior to Defendant’s moving.

For the foregoing reasons Defendant requests this Court enter an order modifying her conditions of

release to allow her to be released from third party custodian and seek different housing options on

her own with her officer’s approval.

                                               Respectfully submitted,


                                               /S/ CYNTHIA M. DODGE
                                               Cynthia M. Dodge
                                               312 SW Greenwich Drive, #10
                                               Lee’s Summit, MO 64082
                                               MO#47754 KS#78371
                                               (816) 246-9200
                                               cindy@cdodgelaw.com
                                               ATTORNEY FOR DEFENDANT


                               CERTIFICATE REGARDING SERVICE
I hereby certify that it is my belief and understanding that counsel for plaintiff, and counsel for the
co-defendants in this matter are participants in the Court’s CM/ECF program and that separate
service of the foregoing document is not required beyond the Notification of Electronic Filing to be
forwarded on November 16, 2021 upon the filing of the foregoing document.


/s/ Cynthia M. Dodge
CYNTHIA M. DODGE


Motion to Modify Bond Conditions
USA v. Leeanna Schroeder 18-00293
         Case 4:18-cr-00293-DGK Document 527 Filed 11/17/21 Page 2 of 2
